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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

   Civil Action No.: 09-cv-00858-CMA-MEH

   EBONIE S., a child, by her mother and next friend, MARY S.

         Plaintiff,

   v.

   PUEBLO SCHOOL DISTRICT 60,
   MARILYN GOLDEN, Teacher, in her official and individual capacities,
   GARY TRUJILLO, Principal, in his official and individual capacities,
   MARY JO BOLLINGER, Executive Director of Exceptions Student Services, in
   her official and individual capacities,
   LOUISE RIVAS, Paraprofessional, in her official and individual capacities,
   SHARRON WELLS, Paraprofessional, in her official and individual capacities,
   ISABEL SANCHEZ, Paraprofessional, in her official and individual capacities,
   AUDRA MARTINEZ, Paraprofessional, in her official and individual capacities,
   and
   KRISTEN POTTER, Paraprofessional, in her official and individual capacities

         Defendants.



                 PLAINTIFF’S AMENDED DAMAGES CALCULATION


         Pursuant to Magistrate Hegarty’s order at the August 12, 2009

   Scheduling Conference, Plaintiff Ebonie S., through her undersigned counsel,

   submits the following Plaintiff’s Amended Damages Calculation.

         Plaintiff currently anticipates that she will seek the following damages:

         1)     Compensatory damages including, but not limited to, those for:
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                  a. Emotional distress, pain and suffering, humiliation, anxiety,

                     loss of enjoyment of life in an amount of not less than

                     $150,000, which continue to accrue;

                  b. Damages for future care in an amount of not less than

                     $150,000; 1 and

                  c. Economic damages, in an amount of not less than $161,872, 2

                     including but not limited to:

                         i. Individual therapy from a clinical psychologist for Ebonie

                               in Boulder, at $140/hour, once per month for four years

                               = $6,720

                         ii.   Travel to and from Boulder for individual therapy, once

                               per month for four years, approximately 250 miles round

                               trip, at the federal rate for medical travel of $0.24/mile =

                               $2,880

                        iii. Increased expense of childcare because of Ebonie’s

                               behavioral regression (higher rate and need for more



   1
     This number may be drastically understated and Plaintiff reserves the right to amend after
   her experts have fully considered this issue. It is expected that Ebonie will require supervisory
   and clinical services throughout her life. Upon completing her public school education, Ebonie
   will likely require placement in a group home or similar supportive community. Ebonie is
   expected to require a higher level of care because of the emotional and behavioral decline she
   suffered following her experiences at Bessemer Academy.
   2 These are the currently known and expected economic damages caused by Defendants’ illegal

   and wrongful acts. Ebonie is a volatile, fragile child with communication challenges, and
   further damage caused by Defendants may continue to develop. Furthermore, Plaintiff’s
   experts have not fully examined the extent of the damage Defendants’ actions have caused.
   Therefore, this category of damages may need to be revised at a later date.


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                       coverage), 20 additional hours per week at $14/hour for

                       four years (50 weeks/year) = $56,000

                   iv. Hotel expenses in Denver due to need to see psychiatrist

                       for medication management outside of Pueblo area

                       because of behavioral regression, one night per month for

                       four years at federal per diem rate of $149.00 = $7,152

                    v. Behavioral therapist for recreational activities for four

                       years at $50/hour, 2 hours/week (50 weeks per year) =

                       $20,000

                   vi. Family therapy from a clinical psychologist for four years

                       at $140/hour, once per month = $6,720

                   vii. Therapeutic respite care for four years at ten hours per

                       week, $30/hour = $62,400

              d. Additionally, Plaintiff has a pending due process action against

                 Pueblo School District 60 under the Individuals with Disabilities

                 Education Act (“IDEA”) styled Due Process Hearing 2009:112,

                 which is slated for a 7-day administrative hearing beginning on

                 September 21, 2009. After exhaustion of her administrative

                 remedies, Plaintiff will seek to have that action joined with the

                 current case. In the due process case, Plaintiff is seeking the

                 following private school reimbursement/compensatory

                 education award plus related costs, for a total of $158,015.44:


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                        i. $110,250 3 for tuition at the private school that Ebonie’s

                           mother had to place her at as a result of Defendants’

                           actions, calculated at $2100 per month for 50 months

                           plus 5% allowance for anticipated tuition increases. Fifty

                           months encompasses both two years compensatory

                           education and ongoing placement through fifth grade.

                       ii. $8,000.00 for summer school, $2000 per summer session

                           for four years.

                       iii. $39,765.44 in total transportation costs, representing

                           transportation to and from school, four days a week (28.6

                           miles each way, 2 round trips per day, four days per week

                           at the current IRS reimbursement rate of 55 cents =

                           $251.68 per week for 158 weeks).

                       iv. If she prevails at due process, Plaintiff will also seek an

                           award of attorney fees pursuant to 20 U.S.C. §

                           1415(i)(3)(B)(i)(I).

        2)       punitive damages against the individual Defendants, to be

                  determined by the jury following trial in this case; and

        3)       attorney fees, costs, and pre- and post-judgment interest, which

                 continue to accrue.


   3
    This figure may be discounted at due process by amounts already paid to Soaring Eagles by
   the District during the compensatory education period.


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         Plaintiff will seek leave to amend the calculations herein following the

   Court’s deadline for expert witness disclosures, which is November 13, 2009.


         Dated this 11th day of September, 2009.


                                        LAW OFFICES OF LOUISE BOUZARI, LLC


                                        s/ Eloise Henderson Bouzari
                                        Eloise Henderson Bouzari
                                        Katherine Gerland
                                        7887 E. Belleview, Suite 1100
                                        Englewood, CO 80111
                                        Direct Line: (303) 771-1288
                                        Main Number/Voicemail: (303) 228-1616
                                        Fax: (303) 771-0460
                                        louise@bouzarilaw.com
                                        kate@bouzarilaw.com




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                             CERTIFICATE OF SERVICE

   I hereby certify that on September 11, 2009, I electronically filed the foregoing
   Plaintiff’s Amended Damages Calculation with the Clerk of the Court using the
   CM/ECF system, which will send electronic notification of such filing to:

                                        William J. Kowalski, Esq.
                                        Caplan and Earnest, LLC
                                        1800 Broadway, Suite 200
                                        Boulder, CO 80302
                                        WKowalski@celaw.com

                                        Sonja S. McKenzie, Esq.
                                        Senter Goldfarb & Rice, L.L.C.
                                        1700 Broadway, Suite 1700
                                        Denver, Colorado 80290
                                        SMcKenzie@sgrllc.com


                                        s/ Eloise Henderson Bouzari
                                        Eloise Henderson Bouzari




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